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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X                11/3/2021


KEITH S. WALCOTT,

                                            Plaintiff,
                                                                            21-CV-05326 (LJL)(SN)
                          -against-
                                                                          SETTLEMENT CONFERENCE
SUTIN, INC., et al.,                                                              ORDER

                                            Defendants.

----------------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         A settlement conference is scheduled for Friday, November 12, 2021, at 2:00 p.m. and will be

held telephonically. The Court will provide dial-in information before the conference.

         The parties are directed to review and comply with the Procedures for Cases Referred for

Settlement to Magistrate Judge Sarah Netburn, a copy of which is available on the Court’s website at

https://nysd.uscourts.gov/hon-sarah-netburn. The parties are strongly encouraged to engage in good-

faith settlement negotiations before the settlement conference and preferably before the submission to

the Court of the Ex Parte Settlement Letters and Acknowledgment Forms, which are to be submitted

by Monday, November 15, 2021 by e-mail to Netburn_NYSDChambers@nysd.uscourts.gov. Should

the parties resolve the litigation before the conference date, they must notify the Court in writing

immediately.

SO ORDERED.


Dated:           November 3, 2021
                 New York, New York
